Case 2:85-cv-04544-DMG-AGR Document 475 Filed 08/24/18 Page 1 of 3 Page ID #:23479



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                       UNITED STATES DISTRICT COURT
16
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     JENNY LISETTE FLORES; et al.,           ) Case No. CV 85-4544
18                                           )
19           Plaintiffs,                     ) NOTICE OF FILING OF JUVENILE
                                             ) COORDINATOR RESPONSES
20                v.                         )
21                                           )
     LORETTA E. LYNCH, Attorney              )
22   General of the United States; et al.,   )
23
                                             )
             Defendants.                     )
24                                           )
25
                                             )

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Case 2:85-cv-04544-DMG-AGR Document 475 Filed 08/24/18 Page 2 of 3 Page ID #:23480



 1
           On July 27, 2018, the Court ordered Defendants to file responses to
 2
     Plaintiffs’ most recent submission of evidence for review by the independent
 3

 4   monitor appointed by the Court, ECF No. 469. In accordance with the Court’s

 5   Order, U.S. Customs and Border Protection and U.S. Immigration and Customs
 6
     Enforcement (“ICE”) submit the attached Responses of Henry A. Moak, Jr., and
 7

 8
     Deane Dougherty.

 9   DATED:      August 24, 2018           Respectfully submitted,
10
                                           CHAD A. READLER
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                                           /s/ Sarah B. Fabian
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Case 2:85-cv-04544-DMG-AGR Document 475 Filed 08/24/18 Page 3 of 3 Page ID #:23481



 1
                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on August 24, 2018, I served the foregoing pleading

 4   with attachments on all counsel of record by means of the District Clerk’s
 5
     CM/ECF electronic filing system.
 6

 7

 8                                                /s/ Sarah B. Fabian
 9                                                SARAH B. FABIAN
                                                  U.S. Department of Justice
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12                                                Attorney for Defendants
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